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                                    Bishop, Steven                             Call, Robert
Bartos, John                        1013 Wyndham Way                           13804 NW 146th Ave.
6130 NW 38th Terrace                Safety Harbor, FL 34695                    Alachua, FL 32615
Gainesville, FL 32653



Hatfield, John                      Hunt, Jr., Walter Lee                      Schonhoff, Randy
P.O. Box 140944                     10207 SW 101st Ave.                        100 Stone Hill Dr.
Gainesville, FL 32614               Gainesville, FL 32608                      Maitland, FL 32751




Strickland, Douglas                 Yaw, Boris
11428 SW Archer Rd.                 6823 SW 53rd Ave.
Gainesville, FL 32608               Gainesville, FL 32608
